Official Form 1 (4/07)
                                        United States Bankruptcy Court
                                                      District of New Mexico                                                                         Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
  Karamanides, Anastasia                                                                            Charley, Lester


All Other Names used by the Debtor in the last 8 years                                           All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                      (include married, maiden, and trade names):
  AKA Ana Karamanides; FDBA Edgenet Technologies Inc.                                               FDBA Edgenet Technologies



Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  xxx-xx-7859                                                                                       xxx-xx-7507
Street Address of Debtor (No. and Street, City, and State):                                      Street Address of Joint Debtor (No. and Street, City, and State):
  5624 Cibola Dr. NE                                                                                5624 Cibola Dr. NE
  Rio Rancho, NM                                                                                    Rio Rancho, NM
                                                                                ZIP Code                                                                                    ZIP Code
                                                                             87144                                                                                       87144
County of Residence or of the Principal Place of Business:                                       County of Residence or of the Principal Place of Business:
  Sandoval                                                                                          Sandoval
Mailing Address of Debtor (if different from street address):                                    Mailing Address of Joint Debtor (if different from street address):


                                                                                ZIP Code                                                                                    ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                  Type of Debtor                                   Nature of Business                                  Chapter of Bankruptcy Code Under Which
               (Form of Organization)                                 (Check one box)                                     the Petition is Filed (Check one box)
                  (Check one box)                           Health Care Business                             Chapter 7
                                                            Single Asset Real Estate as defined              Chapter 9                       Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                     in 11 U.S.C. § 101 (51B)                                                         of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                    Chapter 11
                                                            Railroad
                                                                                                             Chapter 12                      Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                      Stockbroker
                                                                                                             Chapter 13                      of a Foreign Nonmain Proceeding
                                                            Commodity Broker
    Partnership
                                                            Clearing Bank
    Other (If debtor is not one of the above entities,      Other                                                                       Nature of Debts
    check this box and state type of entity below.)                                                                                      (Check one box)
                                                                   Tax-Exempt Entity
                                                                  (Check box, if applicable)                Debts are primarily consumer debts,                  Debts are primarily
                                                            Debtor is a tax-exempt organization             defined in 11 U.S.C. § 101(8) as                     business debts.
                                                            under Title 26 of the United States             "incurred by an individual primarily for
                                                            Code (the Internal Revenue Code).               a personal, family, or household purpose."

                               Filing Fee (Check one box)                                        Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                            Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                        Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                 Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                        to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                      A plan is being filed with this petition.
                                                                                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                        classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
    there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-         200-       1,000-     5,001-      10,001-        25,001-     50,001-    OVER
        49           99          199          999        5,000     10,000       25,000         50,000     100,000    100,000


Estimated Assets
        $0 to                      $10,001 to               $100,001 to               $1,000,001 to             More than
        $10,000                    $100,000                 $1 million                $100 million              $100 million

Estimated Liabilities
        $0 to                      $50,001 to               $100,001 to               $1,000,001 to             More than
        $50,000                    $100,000                 $1 million                $100 million              $100 million
                Case 07-12910-s7                         Doc 1        Filed 11/17/07                     Entered 11/17/07 14:31:58 Page 1 of 46
Official Form 1 (4/07)                                                                                                                                    FORM B1, Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Karamanides, Anastasia
(This page must be completed and filed in every case)                                  Charley, Lester
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Daniel J. Behles                              November 15, 2007
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Daniel J. Behles 191

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
      No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                         Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                              (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                   permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                   possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
              Case 07-12910-s7                    Doc 1       Filed 11/17/07              Entered 11/17/07 14:31:58 Page 2 of 46
Official Form 1 (4/07)                                                                                                              FORM B1, Page 3
                                                                                  Name of Debtor(s):
Voluntary Petition                                                                   Karamanides, Anastasia
(This page must be completed and filed in every case)                                Charley, Lester
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     [If no attorney represents me and no bankruptcy petition preparer                 of title 11 specified in this petition. A certified copy of the order granting
     signs the petition] I have obtained and read the notice required                  recognition of the foreign main proceeding is attached.
     by 11 U.S.C. §342(b).
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X    /s/ Anastasia Karamanides                                                       Printed Name of Foreign Representative
     Signature of Debtor Anastasia Karamanides
                                                                                      Date
 X    /s/ Lester Charley
     Signature of Joint Debtor Lester Charley                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
     November 15, 2007                                                                copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X    /s/ Daniel J. Behles                                                            amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      Daniel J. Behles 191
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      Daniel J. Behles, Attorney
     Firm Name
      226-A Cynthia Loop NW                                                           Social Security number (If the bankrutpcy petition preparer is not
      Albuquerque, NM 87114                                                           an individual, state the Social Security number of the officer,
                                                                                      principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address

                                 Email: Dan@Behles.com
      505-217-2764 Fax: 505-217-2766
     Telephone Number
                                                                                      Address
     November 15, 2007
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose Social Security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X                                                                                    bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual

     Printed Name of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
                                                                                      A bankruptcy petition preparer’s failure to comply with the
                                                                                      provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                      Procedure may result in fines or imprisonment or both 11 U.S.C.
               Case 07-12910-s7               Doc 1        Filed 11/17/07             Entered
                                                                                      §110;       11/17/07
                                                                                            18 U.S.C.   §156.     14:31:58 Page 3 of 46
Official Form 1, Exhibit D (10/06)
                                                                  United States Bankruptcy Court
                                                                               District of New Mexico
             Anastasia Karamanides
 In re       Lester Charley                                                                                      Case No.
                                                                                             Debtor(s)           Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]
       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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Official Form 1, Exh. D (10/06) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Anastasia Karamanides
                                                   Anastasia Karamanides
 Date:         November 15, 2007




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Official Form 1, Exhibit D (10/06)
                                                                  United States Bankruptcy Court
                                                                               District of New Mexico
             Anastasia Karamanides
 In re       Lester Charley                                                                                      Case No.
                                                                                             Debtor(s)           Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]
       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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              Case 07-12910-s7                         Doc 1            Filed 11/17/07            Entered 11/17/07 14:31:58 Page 6 of 46
Official Form 1, Exh. D (10/06) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Lester Charley
                                                   Lester Charley
 Date:         November 15, 2007




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                Case 07-12910-s7                             Doc 1             Filed 11/17/07   Entered 11/17/07 14:31:58 Page 7 of 46
Form 6-Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                                 District of New Mexico
  In re          Anastasia Karamanides,                                                                               Case No.
                 Lester Charley
                                                                                                                ,
                                                                                               Debtors                Chapter                 7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                LIABILITIES           OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  620,000.00


B - Personal Property                                             Yes                 4                  221,150.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 3                                         743,298.61


E - Creditors Holding Unsecured                                   Yes                 2                                           1,600.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 5                                         179,923.17
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                7,144.41
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                8,774.25
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            21


                                                                                Total Assets             841,150.00


                                                                                                 Total Liabilities              924,821.78




                  Case 07-12910-s7                         Doc 1            Filed 11/17/07         Entered 11/17/07 14:31:58 Page 8 of 46
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Official Form 6 - Statistical Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                                District of New Mexico
  In re            Anastasia Karamanides,                                                                                 Case No.
                   Lester Charley
                                                                                                               ,
                                                                                            Debtors                       Chapter             7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                    report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                       Amount

              Domestic Support Obligations (from Schedule E)                                                       1,600.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                       0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E)
                                                                                                                       0.00

              Student Loan Obligations (from Schedule F)                                                               0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                       0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                       0.00

                                                                                    TOTAL                          1,600.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                            7,144.41

              Average Expenses (from Schedule J, Line 18)                                                          8,774.25

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                         16,387.86


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                      63,437.26

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                       0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                       1,600.00

              4. Total from Schedule F                                                                                               179,923.17

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           244,960.43




                    Case 07-12910-s7                       Doc 1            Filed 11/17/07      Entered 11/17/07 14:31:58 Page 9 of 46
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Form B6A
(10/05)


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  In re          Anastasia Karamanides,                                                                             Case No.
                 Lester Charley
                                                                                                        ,
                                                                                          Debtors
                                                                 SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                        Husband,     Current Value of
                                                                                Nature of Debtor's       Wife,      Debtor's Interest in          Amount of
                 Description and Location of Property                           Interest in Property                 Property, without
                                                                                                         Joint, or Deducting                     Secured Claim
                                                                                                       Community             any Secured
                                                                                                                    Claim or Exemption

5624 Cibola Dr NE, Rio Rancho, NM 87144                                         Fee simple                  C                  320,000.00               276,173.36

2700 Poplar Street, Philadelphia, PA 19130                                      Fee simple                  C                  300,000.00               274,298.88




                                                                                                        Sub-Total >            620,000.00       (Total of this page)

                                                                                                                Total >        620,000.00
  0     continuation sheets attached to the Schedule of Real Property                                   (Report also on Summary of Schedules)
                 Case 07-12910-s7                         Doc 1           Filed 11/17/07      Entered 11/17/07 14:31:58 Page 10 of 46
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  In re          Anastasia Karamanides,                                                                                 Case No.
                 Lester Charley
                                                                                                            ,
                                                                                           Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              cash                                                              C                           500.00

2.     Checking, savings or other financial                      Bank of America - checking & savings                              C                           200.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,                        NM Bank & Trust Checking                                          C                           200.00
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Living Room furniture                                             C                           500.00
       including audio, video, and
       computer equipment.                                       2 queen beds, 2 headboards, 4 nightstands, 2 sets                 C                        5,000.00
                                                                 bunk beds, 2 chests, armoire, 3 desks, dinette set,
                                                                 washer and dryer, coffee table, 3 TVs, 2 DVDs,
                                                                 entertianment center, speakers, receiver, computer,
                                                                 3 armchairs, storage racks

5.     Books, pictures and other art                             books and CDs                                                     C                           100.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          personal attire                                                   C                        1,000.00

7.     Furs and jewelry.                                         turquoise and silver jewelry, watch                               C                           600.00

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.

                                                                                                                                   Sub-Total >            8,100.00
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property
                 Case 07-12910-s7                         Doc 1           Filed 11/17/07       Entered 11/17/07 14:31:58 Page 11 of 46
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  In re          Anastasia Karamanides,                                                                                 Case No.
                 Lester Charley
                                                                                                            ,
                                                                                           Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                           Thrify Savings Plan (Anna)                                        C                      80,000.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                          100% stocks in Edgenet Technologies Inc.                          C                              0.00
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owing debtor                      X
    including tax refunds. Give
    particulars.

19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                   Sub-Total >          80,000.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
                 Case 07-12910-s7                         Doc 1           Filed 11/17/07       Entered 11/17/07 14:31:58 Page 12 of 46
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  In re          Anastasia Karamanides,                                                                                 Case No.
                 Lester Charley
                                                                                                            ,
                                                                                           Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           Kawasaki 65 dirt bike                                             C                           500.00
    other vehicles and accessories.
                                                                 Yamaha 85 dirt bike                                               C                        1,000.00

                                                                 Suzuki 85 dirt bike                                               C                        1,000.00

                                                                 2 Yamaha ATVs                                                     C                        7,500.00

                                                                 flatbed 12 foot trailer                                           C                           600.00

                                                                 2006 Toyota Sequoia                                               C                      25,000.00

                                                                 RV travel trailer                                                 C                      30,000.00

                                                                 Dodge Ram truck                                                   C                      25,000.00

                                                                 2006 Ford F-150                                                   C                      26,000.00

                                                                 2006 Harley Davidson Deuce                                        C                      16,000.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                           printer and desk                                                  C                           150.00
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                                   spare parts                                                       C                           100.00



                                                                                                                                   Sub-Total >        132,850.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
                 Case 07-12910-s7                         Doc 1           Filed 11/17/07       Entered 11/17/07 14:31:58 Page 13 of 46
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(10/05)




  In re          Anastasia Karamanides,                                                                                 Case No.
                 Lester Charley
                                                                                                            ,
                                                                                           Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

31. Animals.                                                     1 sharpei and 2 dachshunds                                         C                          200.00

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                   Sub-Total >              200.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >       221,150.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
                 Case 07-12910-s7                         Doc 1           Filed 11/17/07       Entered 11/17/07 14:31:58 Page 14 of 46
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   In re          Anastasia Karamanides,                                                                                   Case No.
                  Lester Charley
                                                                                                                  ,
                                                                                               Debtors
                                               SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of            Current Value of
                    Description of Property                                               Each Exemption                       Claimed             Property Without
                                                                                                                              Exemption          Deducting Exemption
Real Property
5624 Cibola Dr NE, Rio Rancho, NM 87144                                          N.M. Stat. Ann. § 42-10-9                         43,826.64               320,000.00

Cash on Hand
cash                                                                             N.M. Stat. Ann. §§ 42-10-1, -2                        500.00                    500.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Bank of America - checking & savings              N.M. Stat. Ann. §§ 42-10-1, -2                                                       200.00                    200.00

NM Bank & Trust Checking                                                         N.M. Stat. Ann. §§ 42-10-1, -2                        200.00                    200.00

Household Goods and Furnishings
2 queen beds, 2 headboards, 4 nightstands, 2                                     N.M. Stat. Ann. §§ 42-10-1, -2                       5,000.00                5,000.00
sets bunk beds, 2 chests, armoire, 3 desks,
dinette set, washer and dryer, coffee table, 3
TVs, 2 DVDs, entertianment center, speakers,
receiver, computer, 3 armchairs, storage racks

Books, Pictures and Other Art Objects; Collectibles
books and CDs                                       N.M. Stat. Ann. §§ 42-10-1, -2                                                     100.00                    100.00

Wearing Apparel
personal attire                                                                  N.M. Stat. Ann. §§ 42-10-1, -2                       1,000.00                1,000.00

Furs and Jewelry
turquoise and silver jewelry, watch                                              N.M. Stat. Ann. §§ 42-10-1, -2                        600.00                    600.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Thrify Savings Plan (Anna)                          N.M. Stat. Ann. §§ 42-10-1,-2                                                  80,000.00                 80,000.00

Automobiles, Trucks, Trailers, and Other Vehicles
Yamaha 85 dirt bike                                                              N.M. Stat. Ann. §§ 42-10-1, -2                       1,000.00                1,000.00

Suzuki 85 dirt bike                                                              N.M. Stat. Ann. §§ 42-10-1, -2                       1,000.00                1,000.00

Office Equipment, Furnishings and Supplies
printer and desk                                                                 N.M. Stat. Ann. §§ 42-10-1, -2                        150.00                    150.00

Inventory
spare parts                                                                      N.M. Stat. Ann. §§ 42-10-1, -2                        100.00                    100.00




                                                                                                                  Total:         133,676.64                409,850.00
    0      continuation
                 Casesheets attached to Schedule
                        07-12910-s7         Docof1Property
                                                      FiledClaimed as Exempt Entered
                                                               11/17/07                                        11/17/07 14:31:58 Page 15 of 46
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   In re           Anastasia Karamanides,                                                                                          Case No.
                   Lester Charley
                                                                                                                      ,
                                                                                                     Debtors
                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s
 name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P.
 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                              O    N   I
                                                                D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W             NATURE OF LIEN, AND                          I    Q   U                      PORTION, IF
                                                                T   J           DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                OF PROPERTY
                                                                R
                                                                                    SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. xxxxxxxxxxxx4161                                            9/11/2006                                                   E
                                                                                                                                    D

American Home                                                           Purchase Money Security
PO Box 659705
San Antonio, TX 78265-9705                                              Living Room furniture
                                                                    C

                                                                         Value $                                 500.00                           3,633.02             3,133.02
Account No. 592-02008192714                                             Purchase Money Security

Bank of America                                                         RV travel trailer
P.O. Box 538610
Atlanta, GA 30353-8610
                                                                    C

                                                                         Value $                               30,000.00                         54,254.00           24,254.00
Account No.                                                             First Mortgage

Chase                                                                   5624 Cibola Dr NE, Rio Rancho, NM
PO Box 78420                                                            87144
Phoenix, AZ 85062
                                                                    C

                                                                         Value $                           320,000.00                           232,262.81                   0.00
Account No. 1004244871                                                  Purchase Money Security

Chrysler Financial                                                      Dodge Ram truck
P.O. Box 9001921
Louisville, KY 40290-1921
                                                                    C

                                                                         Value $                               25,000.00                         24,389.11                   0.00
                                                                                                                            Subtotal
 2
_____ continuation sheets attached                                                                                                              314,538.94           27,387.02
                                                                                                                   (Total of this page)




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   In re            Anastasia Karamanides,                                                                                         Case No.
                    Lester Charley
                                                                                                                      ,
                                                                                                     Debtors

                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             Second Mortgage                                             E
                                                                                                                                    D

Citi Mortgage                                                           5624 Cibola Dr NE, Rio Rancho, NM
PO Box 689196                                                           87144
Des Moines, IA 50368
                                                                    C

                                                                         Value $                           320,000.00                            43,910.55                   0.00
Account No.                                                             First Mortgage

Countrywide Bank                                                        2700 Poplar Street, Philadelphia, PA
PO Box 650070                                                           19130
Dallas, TX 75265
                                                                    C

                                                                         Value $                           300,000.00                           274,298.88                   0.00
Account No. xxxxx9901                                                   Purchase Money Security

Ford Credit                                                             2006 Ford F-150
PO Box 790093
Saint Louis, MO 63179-0093
                                                                    C

                                                                         Value $                               26,000.00                         39,477.38           13,477.38
Account No. xxxxxxxxxx1021                                              store credit card

Harley Davidson Credit
8529 Innovation Way
Chicago, IL 60682-0085
                                                                    C

                                                                         Value $                               16,000.00                         18,467.00             2,467.00
Account No. xxx-xxxx-xxxx-0984                                          2 Yamaha ATVs

Retail Services
PO Box 60107
City Of Industry, CA 91716-0107
                                                                    C

                                                                         Value $                                7,500.00                         12,765.54             5,265.54
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                388,919.35           21,209.92
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




                   Case 07-12910-s7                        Doc 1           Filed 11/17/07                Entered 11/17/07 14:31:58 Page 17 of 46
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   In re            Anastasia Karamanides,                                                                                         Case No.
                    Lester Charley
                                                                                                                      ,
                                                                                                     Debtors

                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             2006 Toyota Sequoia                                         E
                                                                                                                                    D

Wells Fargo Auto Finance
P.O. Box 660217
Dallas, TX 75266-0217
                                                                    C

                                                                         Value $                               25,000.00                         39,840.32           14,840.32
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                 39,840.32           14,840.32
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)
                                                                                                                             Total              743,298.61           63,437.26
                                                                                                   (Report on Summary of Schedules)
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  In re           Anastasia Karamanides,                                                                                  Case No.
                  Lester Charley
                                                                                                              ,
                                                                                           Debtors
                          SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also
     include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
     chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case
     under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative of
     such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a trust
     or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
        Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not delivered
     provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or another
     substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1   continuation sheets attached
                  Case 07-12910-s7                        Doc 1           Filed 11/17/07       Entered 11/17/07 14:31:58 Page 19 of 46
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 Official Form 6E (4/07) - Cont.




   In re            Anastasia Karamanides,                                                                                       Case No.
                    Lester Charley
                                                                                                                    ,
                                                                                                     Debtors
                         SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)


                                                                                                                             Domestic Support Obligations
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
Account No.                                                             Child support arrears                                     E
                                                                                                                                  D

Clerk of the Noble County Court
Attn: Candy Meyers                                                                                                                                           1,600.00
101 North Orange Street
                                                                    C
Albion, IN 46701

                                                                                                                                                 1,600.00                    0.00
Account No.                                                             Child support arrears (Duplicate of
                                                                        above)
Cynthia Workman
2524 Berthaud Rd                                                                                                                                             0.00
New Haven, IN 46774
                                                                    C

                                                                                                                                                     0.00                    0.00
Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal                           1,600.00
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)            1,600.00                   0.00
                                                                                                                             Total                           1,600.00
                                                                                                   (Report on Summary of Schedules)              1,600.00                   0.00
                   Case 07-12910-s7                        Doc 1           Filed 11/17/07                Entered 11/17/07 14:31:58 Page 20 of 46
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 Official Form 6F (10/06)



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   In re           Anastasia Karamanides,                                                                                     Case No.
                   Lester Charley
                                                                                                                          ,
                                                                                                        Debtors

                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the
 child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R.
 Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical Summary of Certain
 Liabilities and Related Data.

       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,                                           E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                  AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. xxxx-xxxx-xxxx-4161                                                          furniture                                           T   T
                                                                                                                                                 E
                                                                                                                                                 D

American Home
PO Box 659705                                                                        C
San Antonio, TX 78265-9705

                                                                                                                                                                         3,133.02
Account No. xxxxxxx39-02                                                                 phone bill

AT&T Long Distance
c/o AFNI Inc.                                                                        C
PO Box 3427
Bloomington, IL 61702-3427
                                                                                                                                                                           450.32
Account No. xxxx-xxxx-xxxx-9897                                                          credit card

Bank of America
PO Box 17322                                                                         C
Baltimore, MD 21297-1322

                                                                                                                                                                       16,589.96
Account No. xxxx xxxx2675                                                                overdraft - business debt

Bank of America
PO Box 798                                                                           C
Wichita, KS 67201

                                                                                                                                                                         1,944.14

                                                                                                                                           Subtotal
 4
_____ continuation sheets attached                                                                                                                                     22,117.44
                                                                                                                                 (Total of this page)




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 Official Form 6F (10/06) - Cont.




   In re            Anastasia Karamanides,                                                                                    Case No.
                    Lester Charley
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxx-xxxx-xxxx-8439                                                          credit card                                             E
                                                                                                                                                 D

Bank of America
PO Box 37291                                                                         C
Baltimore, MD 21297-3291

                                                                                                                                                                    13,438.35
Account No. xxxx-xxxx-xxxx-6957                                                          business debt

Bank of America
Business Card                                                                        C
PO Box 15710
Wilmington, DE 19886-5710
                                                                                                                                                                    16,779.02
Account No.                                                                              former business employee

Bobbi Schroeder
5726 Quay Dr. NE                                                                     C
Rio Rancho, NM 87144

                                                                                                                                                                      5,000.00
Account No. xxxx-xxxx-xxxx-4533                                                          credit card

Chase
PO Box 52108                                                                         C
Phoenix, AZ 85072-2108

                                                                                                                                                                    16,895.30
Account No. xxxx-xxxx-xxxx-4914                                                          credit card

CitiCards
PO Box 6410                                                                          C
The Lakes, NV 88901-6410

                                                                                                                                                                    12,528.84

           1
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                    64,641.51
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Anastasia Karamanides,                                                                                    Case No.
                    Lester Charley
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              business debt                                           E
                                                                                                                                                 D

Communications Supply Corporation
3050 Payshere Circle                                                                 C
Chicago, IL 60674

                                                                                                                                                                      3,375.76
Account No.                                                                              Business loan

Constandina Karamanides
1828 Windsor Park Lane                                                               C
Havertown, PA 19083

                                                                                                                                                                    11,000.00
Account No. xxxxx2916                                                                    business debt

DEX
PO Box 78041                                                                         C
Phoenix, AZ 85062-8041

                                                                                                                                                                      4,387.99
Account No.                                                                              business debt

J & T Phone Services
PO Box No 15001                                                                      C
Farmington, NM 87401

                                                                                                                                                                        101.65
Account No. xxx2575                                                                      medical bill

Lovelace
PO Box 27829                                                                         C
Albuquerque, NM 87125

                                                                                                                                                                        900.00

           2
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                    19,765.40
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Anastasia Karamanides,                                                                                    Case No.
                    Lester Charley
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Lovelace                                                E
                                                                                         c/o Nationwide Recovery Systems                         D
Additional Notice
Lovelace                                                                                 PO Box 702257
                                                                                         Dallas, TX 75370-2257




Account No. xxxx9141                                                                     medical bill

Mesa Emergency Group LLC
c/o West Asset Management                                                            C
PO Box 2348
Sherman, TX 75091-2348
                                                                                                                                                                        576.00
Account No.                                                                              business debt

New Mexico Business Weekly
PO Box 32547                                                                         C
Charlotte, NC 28232-2547

                                                                                                                                                                          77.00
Account No.                                                                              Business loan

Petros Karamanides
231 Sussex Blvd.                                                                     C
Broomall, PA 19008

                                                                                                                                                                    63,000.00
Account No. xxxxxxxxxxx0001                                                              business debt

Verizon Wireless
PO Box 9622                                                                          C
Mission Hills, CA 91346-9622

                                                                                                                                                                        993.45

           3
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                    64,646.45
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case 07-12910-s7                        Doc 1           Filed 11/17/07                     Entered 11/17/07 14:31:58 Page 24 of 46
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 Official Form 6F (10/06) - Cont.




   In re            Anastasia Karamanides,                                                                                          Case No.
                    Lester Charley
                                                                                                                           ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                     CREDITOR'S NAME,                                            O                                                                  O   N   I
                  AND MAILING ADDRESS                                            D   H                                                              N   L   S
                   INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                    (See instructions above.)                                    R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No.                                                                              Verizon Wireless                                               E
                                                                                         c/o AFNI Inc.                                                  D
Additional Notice
Verizon Wireless                                                                         PO Box 3427
                                                                                         Bloomington, IL 61702-3427




Account No. 502-3740469578-9001                                                          Toyota truck - repossessed, deficiency owed

Wells Fargo
P.O. Box 660217                                                                      C                                                                  X
Dallas, TX 75266-0127

                                                                                                                                                                             8,000.00
Account No. xxxxxxxxxxxxx1235                                                            credit card

Wells Fargo
c/o Bureau of Collection Recovery Inc.                                               C
PO Box 9001
Minnetonka, MN 55345-9001
                                                                                                                                                                               730.88
Account No. Hxxx1421                                                                     medical bill

Xray Associates of NM
PO Box 52789                                                                         C
Phoenix, AZ 85072

                                                                                                                                                                                 21.49
Account No.




           4
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                             8,752.37
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)               179,923.17

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  In re             Anastasia Karamanides,                                                                           Case No.
                    Lester Charley
                                                                                                          ,
                                                                                       Debtors
                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                           Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                      State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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Form B6H
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  In re          Anastasia Karamanides,                                                                   Case No.
                 Lester Charley
                                                                                                   ,
                                                                                       Debtors
                                                                       SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR




       0       continuation sheets attached to Schedule of Codebtors
                 Case 07-12910-s7                         Doc 1           Filed 11/17/07   Entered 11/17/07 14:31:58 Page 27 of 46
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Official Form 6I (10/06)


              Anastasia Karamanides
  In re       Lester Charley                                                                             Case No.
                                                                               Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                     DEPENDENTS OF DEBTOR AND SPOUSE
                                          RELATIONSHIP(S):                                            AGE(S):
                                               daughter                                                    10
                                               son                                                         11
        Married
                                               son                                                         14
                                               daughter                                                    15
                                               son                                                         3
 Employment:                                         DEBTOR                                                         SPOUSE
 Occupation                           Physician                                                 Unemployed
 Name of Employer                     AHS Lovelace Medical Group, LLC
 How long employed
 Address of Employer                  5400 Gibson SE
                                      Albuquerque, NM 87108
 INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                  SPOUSE
 1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $      10,812.71        $             0.00
 2. Estimate monthly overtime                                                                             $           0.00        $             0.00

 3. SUBTOTAL                                                                                              $      10,812.71        $             0.00

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                 $         2,922.01      $             0.00
     b. Insurance                                                                                         $           746.29      $             0.00
     c. Union dues                                                                                        $             0.00      $             0.00
     d. Other (Specify):                                                                                  $             0.00      $             0.00
                                                                                                          $             0.00      $             0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         3,668.30      $             0.00

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         7,144.41      $             0.00

 7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00      $             0.00
 8. Income from real property                                                                             $             0.00      $             0.00
 9. Interest and dividends                                                                                $             0.00      $             0.00
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
      that of dependents listed above                                                                     $             0.00      $             0.00
 11. Social security or government assistance
 (Specify):                                                                                               $             0.00      $             0.00
                                                                                                          $             0.00      $             0.00
 12. Pension or retirement income                                                                         $             0.00      $             0.00
 13. Other monthly income
 (Specify):                                                                                               $             0.00      $             0.00
                                                                                                          $             0.00      $             0.00

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             0.00      $             0.00

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         7,144.41      $             0.00

 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                        $           7,144.41
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                     (Report also on Summary of Schedules and, if applicable, on
                                                                                     Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
              Lester Charley is seeking employment, and when he becomes employed the family earnings will increase



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Official Form 6J (10/06)


            Anastasia Karamanides
 In re      Lester Charley                                                                     Case No.
                                                                   Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
 1. Rent or home mortgage payment (include lot rented for mobile home)                                      $                 2,268.67
  a. Are real estate taxes included?                            Yes X              No
  b. Is property insurance included?                            Yes X              No
 2. Utilities:      a. Electricity and heating fuel                                                         $                   350.00
                    b. Water and sewer                                                                      $                    80.00
                    c. Telephone                                                                            $                   108.00
                    d. Other See Detailed Expense Attachment                                                $                   585.00
 3. Home maintenance (repairs and upkeep)                                                                   $                     0.00
 4. Food                                                                                                    $                 1,050.00
 5. Clothing                                                                                                $                   300.00
 6. Laundry and dry cleaning                                                                                $                     0.00
 7. Medical and dental expenses                                                                             $                     0.00
 8. Transportation (not including car payments)                                                             $                   600.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                   100.00
 10. Charitable contributions                                                                               $                     0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                    a. Homeowner's or renter's                                                              $                     0.00
                    b. Life                                                                                 $                     0.00
                    c. Health                                                                               $                     0.00
                    d. Auto                                                                                 $                   350.00
                    e. Other                                                                                $                     0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
                  (Specify)                                                                                  $                    0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
 plan)
                    a. Auto                                                                                 $                 1,582.58
                    b. Other See Detailed Expense Attachment                                                $                   760.00
 14. Alimony, maintenance, and support paid to others                                                       $                   440.00
 15. Payments for support of additional dependents not living at your home                                  $                     0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $                     0.00
 17. Other Travel expenses for children's visits                                                            $                   200.00
     Other                                                                                                  $                     0.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                   $                 8,774.25
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
 following the filing of this document:
       Debtors will have child care expenses of approximately $600 per month when Lester Charley
       obtains employment
 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                       $                 7,144.41
 b. Average monthly expenses from Line 18 above                                                             $                 8,774.25
 c. Monthly net income (a. minus b.)                                                                        $                -1,629.84




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Official Form 6J (10/06)
            Anastasia Karamanides
 In re      Lester Charley                                                    Case No.
                                                         Debtor(s)

                      SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                             Detailed Expense Attachment
Other Utility Expenditures:
 Trash                                                                                   $              25.00
 ADT Security                                                                            $              30.00
 Cell Phones                                                                             $             400.00
 Cable                                                                                   $             130.00
 Total Other Utility Expenditures                                                        $             585.00




Other Installment Payments:
 Harley                                                                                  $             440.00
 American Home                                                                           $             120.00
 Child support arrears                                                                   $             100.00
 Attorney fees                                                                           $             100.00
 Total Other Installment Payments                                                        $             760.00




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Official Form 7
(04/07)


                                                                  United States Bankruptcy Court
                                                                               District of New Mexico
             Anastasia Karamanides
 In re       Lester Charley                                                                                       Case No.
                                                                                             Debtor(s)            Chapter        7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

                  1. Income from employment or operation of business

    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                  business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $129,000.00                              wife 2006 Lovelace
                           $147,000.00                              wife 1/07 - 10/07 Lovelace
                           $166,271.00                              wife 2005 Lovelace
                           $8,000.00                                husband -1/07 - 10/07 Edgenet Technologies
                           $12,000.00                               husband - 2006 - Edgenet Technologies
                           $14,807.00                               husband - 1/05-4/05 - Napi




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               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
               property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                          AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                     AMOUNT PAID             OWING
 Chase                                                                             8/31/07, 10/2/07                $4,068.00         $232,260.00
 PO Box 78420
 Phoenix, AZ 85062
 Citi Mortgage                                                                     8/9/07, 9/14/07, 10/15/07        $965.00             $3,900.00
 PO Box 689196
 Des Moines, IA 50368
 Countrywide Bank                                                                  9/4/07, 10/12/07                $2,613.00          $274,300.00
 PO Box 650070
 Dallas, TX 75265
 Ford Credit                                                                       8/9/07, 9/17/07, 10/15/07       $2,051.23           $39,500.00
 PO Box 790093
 Saint Louis, MO 63179-0093
 Chrysler Financial                                                                9/17/07, 10/15/07               $1,565.16           $24,389.11
 P.O. Box 9001921
 Louisville, KY 40290-1921
 Wells Fargo                                                                       8/07, 10/29/07                  $2,555.00           $33,000.00
 PO Box 660217
 Dallas, TX 75266-0217
 Bank of America                                                                   8/18/07, 9/17/07, 10/14/07      $1,641.00           $54,254.00
 P.O. Box 538610
 Atlanta, GA 30353-8610
 Bank of America                                                                   8/27/07, 10/3/07                 $690.00            $16,589.96
 PO Box 17322
 Baltimore, MD 21297-1322
 Bank of America                                                                   8/8/07, 9/30/07, 10/11/07       $2,685.00           $16,000.00
 Business Card
 PO Box 15710
 Wilmington, DE 19886-5710
 CitiCards                                                                         8/8/07, 9/11/07, 10/10/07       $1,412.00           $12,528.84
 PO Box 6410
 The Lakes, NV 88901-6410
 Chase                                                                             8/20/07, 10/1/07                $1,215.00           $16,895.30
 PO Box 52108
 Phoenix, AZ 85072-2108




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 NAME AND ADDRESS                                                                  DATES OF                                            AMOUNT STILL
     OF CREDITOR                                                                   PAYMENTS                         AMOUNT PAID           OWING
 Retail Services                                                                   8/7/07, 9/20/07, 10/14/07            $838.00         $12,765.54
 PO Box 60107
 City Of Industry, CA 91716-0107

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
               transfer is not less than $5,475. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                         AMOUNT
                                                                                   DATES OF                               PAID OR
                                                                                   PAYMENTS/                            VALUE OF       AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                           TRANSFERS         OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
        RELATIONSHIP TO DEBTOR                                                     DATE OF PAYMENT                  AMOUNT PAID           OWING
 Petros Karamanides                                                                8/07, 9/07, 10/07                   $2,385.00        $63,000.00
 231 Sussex Blvd.
 Broomall, PA 19008
    father
 Ben Hernandez                                                                     1/07, 2/07, 3/07, 4/07, 5/0,        $23,000.00              $0.00
                                                                                   6/07
     Former business assoc - paid by business
 Robert Robles                                                                     6/7/07                              $12,500.00              $0.00

     friend of business assoc. - Paid by business
 Dimitra Karamanides                                                               8/07, 9-11/07                        $6,000.00              $0.00

     sister - paid by business

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY             STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION                DISPOSITION

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                     DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                  PROPERTY




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               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                          DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                        FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                       TRANSFER OR RETURN                    PROPERTY
 Wells Fargo                                                            8/07                            Toyota truck - repossessed, deficiency owed -
 P.O. Box 660217                                                                                        $8000
 Dallas, TX 75266-0127

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF        DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER                PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                        DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT       VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS          DATE OF LOSS




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               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                             OF PROPERTY
 Daniel J. Behles, Atty                                                           11/6/07                              $1000 - filing fee
 226-A Cynthia Loop NW
 Albuquerque, NM 87114

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                     DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                        AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                              AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)          IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                    DESCRIPTION               DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                    OF CONTENTS                SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF




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               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                       LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                             DATES OF OCCUPANCY
 311 N. Buena Vista Ave, Farmington, NM 87142                                     Lester Charley and Anna Karamanides   11/01-4/05

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME
 Cynthia Workman (Lester's former spouse)

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                       DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                         NOTICE                LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                       DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                         NOTICE                LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION




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               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                             BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                     NATURE OF BUSINESS            ENDING DATES
 Edgenet Technologies                   202611822                        5624 Cibola Dr NE           Communications -              4/05-present
 Inc.                                                                    Rio Rancho, NM 87144        Technology

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                             DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                          ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                   DATE ISSUED
 Bank of America                                                                                    5/07




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 NAME AND ADDRESS                                                                                         DATE ISSUED
 Communications Supply Corporation                                                                        10/06
 3050 Payshere Circle
 Chicago, IL 60674

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)




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               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date November 15, 2007                                                         Signature    /s/ Anastasia Karamanides
                                                                                             Anastasia Karamanides
                                                                                             Debtor


 Date November 15, 2007                                                         Signature    /s/ Lester Charley
                                                                                             Lester Charley
                                                                                             Joint Debtor
                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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            Anastasia Karamanides
 In re      Lester Charley
                                   Debtor(s)
                                                                                                  According to the calculations required by this statement:
 Case Number:                                                                                             The presumption arises.
                                   (If known)
                                                                                                          The presumption does not arise.
                                                                                             (Check the box as directed in Parts I, III, and VI of this statement.)


                             CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                       AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly, whose debts are
primarily consumer debts. Joint debtors may complete one statement only.


                                               Part I. EXCLUSION FOR DISABLED VETERANS
              If you are a disabled veteran described in the Veteran's Declaration in this Part I, (1) check the box at the beginning of the Veteran's
              Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
              VIII. Do not complete any of the remaining parts of this statement.
     1
                 Veteran's Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in 38 U.S.C. §
              3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. § 101(d)(1)) or while
              I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).


              Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
              a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
              b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury: "My
                    spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the purpose
     2              of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income") for Lines
                    3-11.
              c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                    ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              All figures must reflect average monthly income received from all sources, derived during the six   Column A       Column B
              calendar months prior to filing the bankruptcy case, ending on the last day of the month before the
              filing. If the amount of monthly income varied during the six months, you must divide the six-      Debtor's       Spouse's
              month total by six, and enter the result on the appropriate line.                                    Income         Income

     3        Gross wages, salary, tips, bonuses, overtime, commissions.                                                         $     14,400.19    $               0.00
              Income from the operation of a business, profession or farm. Subtract Line b from Line a and
              enter the difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
              Do not include any part of the business expenses entered on Line b as a deduction in Part
              V.
     4                                                                     Debtor                 Spouse
               a.    Gross receipts                                 $               0.00 $                  0.00
               b.      Ordinary and necessary business expenses                    $               0.00    $              0.00
               c.      Business income                                             Subtract Line b from Line a                   $           0.00   $               0.00
              Rents and other real property income. Subtract Line b from Line a and enter the difference in
              the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
              part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                   Debtor                 Spouse
               a.    Gross receipts                                $          1,545.00 $                 0.00
               b.      Ordinary and necessary operating expenses                   $                0.00   $              0.00
               c.      Rent and other real property income                         Subtract Line b from Line a                   $      1,545.00    $               0.00
     6        Interest, dividends, and royalties.                                                                                $           0.00   $               0.00
     7        Pension and retirement income.                                                                                     $           0.00   $               0.00
              Any amounts paid by another person or entity, on a regular basis, for the household
     8        expenses of the debtor or the debtor's dependents, including child or spousal support. Do
              not include amounts paid by the debtor's spouse if Column B is completed.                                          $           0.00   $               0.00




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              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A or B,
     9        but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act                Debtor $               0.00   Spouse $              0.00   $            0.00   $                0.00
              Income from all other sources. If necessary, list additional sources on a separate page. Do not
              include any benefits received under the Social Security Act or payments received as a victim of a
              war crime, crime against humanity, or as a victim of international or domestic terrorism. Specify
              source and amount.
    10                                                                      Debtor                  Spouse
               a. RV rental                                         $                0.00 $                442.67
               b.                                                                  $                       $
              Total and enter on Line 10                                                                                            $            0.00   $            442.67
    11
              Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column
              A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                             $       15,945.19   $            442.67
              Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
    12        Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been completed,
              enter the amount from Line 11, Column A.                                                                              $                           16,387.86


                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13
              Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
              12 and enter the result.                                                                                                              $          196,654.32
              Applicable median family income. Enter the median family income for the applicable state and household
    14        size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

               a. Enter debtor's state of residence:                        NM               b. Enter debtor's household size:          5           $            58,934.00
              Application of Section 707(b)(7). Check the applicable box and proceed as directed.
                    The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not
    15
                    arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.

                    The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                      Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16        Enter the amount from Line 12.                                                                                                        $            16,387.86
              Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line 11, Column
    17        B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's dependents. If you
              did not check box at Line 2.c, enter zero.                                                                                            $                    0.00
    18        Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                           $            16,387.86


                    Part V. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                          Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
              National Standards: food, clothing, household supplies, personal care, and miscellaneous.
    19        Enter "Total" amount from IRS National Standards for Allowable Living Expenses for the applicable family size and
              income level. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                        $              1,762.00
              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS
    20A       Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information
              is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                        $                383.00




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              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount
              of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
              Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the
    20B       result in Line 20B. Do not enter an amount less than zero.
               a.       IRS Housing and Utilities Standards; mortgage/rental expense              $                              1,048.00
               b.       Average Monthly Payment for any debts secured by your home,
                        if any, as stated in Line 42                                              $                              2,268.67
               c.       Net mortgage/rental expense                                               Subtract Line b from Line a.              $                0.00
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines
              20A and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21        Standards, enter any additional amount to which you contend you are entitled, and state the basis for your contention
              in the space below:
               Actual Heat, electricity, phone, TV, security, water and trash is $723                                                       $            340.00
              Local Standards: transportation; vehicle operation/public transportation expense.
              You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
              vehicle and regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
              included as a contribution to your household expenses in Line 8.
    22
                    0      1         2 or more.

              Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable
              number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                                $            420.00
              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of
              vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
              than two vehicles.)

                    1      2 or more.

              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
    23        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter the result in
              Line 23. Do not enter an amount less than zero.

               a.       IRS Transportation Standards, Ownership Costs, First Car              $                                   471.00
                        Average Monthly Payment for any debts secured by Vehicle 1,
               b.       as stated in Line 42                                                  $                                   773.89
               c.       Net ownership/lease expense for Vehicle 1                             Subtract Line b from Line a.                  $                0.00
              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if
              you checked the "2 or more" Box in Line 23.
              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter the result in
    24        Line 24. Do not enter an amount less than zero.

               a.       IRS Transportation Standards, Ownership Costs, Second Car             $                                   332.00
                        Average Monthly Payment for any debts secured by Vehicle 2,
               b.       as stated in Line 42                                                  $                                   443.46
               c.       Net ownership/lease expense for Vehicle 2                             Subtract Line b from Line a.                  $                0.00
              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
    25        federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes,
              social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                         $          3,855.19
              Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
    26        deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
              uniform costs. Do not include discretionary amounts, such as non-mandatory 401(k) contributions.                              $                0.00
              Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for
    27        term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or
              for any other form of insurance.                                                                                              $                0.00




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              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
    28        required to pay pursuant to court order, such as spousal or child support payments. Do not include payments on
              past due support obligations included in Line 44.                                                                           $            440.00
              Other Necessary Expenses: education for employment or for a physically or mentally
    29        challenged child. Enter the total monthly amount that you actually expend for education that is a condition of
              employment and for education that is required for a physically or mentally challenged dependent child for whom no
              public education providing similar services is available.                                                                   $                0.00
    30
              Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on
              childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.               $            600.00
              Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on
    31        health care expenses that are not reimbursed by insurance or paid by a health savings account. Do not include
              payments for health insurance or health savings accounts listed in Line 34.                                                 $                0.00
              Other Necessary Expenses: telecommunication services. Enter the average monthly amount that you
              actually pay for telecommunication services other than your basic home telephone service - such as cell phones,
    32
              pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
              welfare or that of your dependents. Do not include any amount previously deducted.                                          $            400.00
    33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                         $          8,200.19
                                             Subpart B: Additional Expense Deductions under § 707(b)
                                  Note: Do not include any expenses that you have listed in Lines 19-32
              Health Insurance, Disability Insurance, and Health Savings Account Expenses. List and total
              the average monthly amounts that you actually pay for yourself, your spouse, or your dependents in the following
              categories.

    34         a.         Health Insurance                                                   $                         729.17
               b.         Disability Insurance                                               $                           0.00
               c.         Health Savings Account                                             $                           0.00
                                                                                         Total: Add Lines a, b and c                      $            729.17
              Continued contributions to the care of household or family members. Enter the actual monthly
    35        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill,
              or disabled member of your household or member of your immediate family who is unable to pay for such expenses.             $                0.00
              Protection against family violence. Enter any average monthly expenses that you actually incurred to
    36        maintain the safety of your family under the Family Violence Prevention and Services Act or other applicable federal
              law. The nature of these expenses is required to be kept confidential by the court.                                         $                0.00
              Home energy costs. Enter the average monthly amount, in excess of the allowance in the IRS Local Standards
    37        for Housing and Utilities, that you actually expend for home energy costs. You must provide your case trustee
              with documentation demonstrating that the additional amount claimed is reasonable and necessary.                            $                0.00
              Education expenses for dependent children less than 18. Enter the average monthly expenses that
              you actually incur, not to exceed $137.50 per child, in providing elementary and secondary education for your
    38        dependent children less than 18 years of age. You must provide your case trustee with documentation
              demonstrating that the amount claimed is reasonable and necessary and not already accounted for in the
              IRS Standards.                                                                                                              $                0.00
              Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
              expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to exceed five
    39        percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
              bankruptcy court.) You must provide your case trustee with documentation demonstrating that the
              additional amount claimed is reasonable and necessary.                                                                      $              17.00
    40
              Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
              cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                         $                0.00
    41        Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                                  $            746.17




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                                                             Subpart C: Deductions for Debt Payment
              Future payments on secured claims. For each of your debts that is secured by an interest in property that
              you own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly
    42        Payment. The Average Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the
              60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of
              taxes and insurance required by the mortgage. If necessary, list additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt                 60-month Average Payment
                 a.   American Home                                Living Room furniture                  $                            60.55
                 b.   Bank of America                              RV travel trailer                      $                           546.95
                                                                   5624 Cibola Dr NE, Rio Rancho,
                 c.   Chase                                        NM 87144                               $                      1,953.96
                 d.   Chrysler Financial                           Dodge Ram truck                        $                        443.46
                                                                   5624 Cibola Dr NE, Rio Rancho,
                 e.   Citi Mortgage                                NM 87144                               $                           314.71
                                                                   2700 Poplar Street, Philadelphia,
                 f.   Countrywide Bank                             PA 19130                               $                      2,390.73
                 g.   Ford Credit                                  2006 Ford F-150                        $                        687.23
                 h.   Harley Davidson Credit                       store credit card                      $                        308.73
                 i.   Retail Services                              2 Yamaha ATVs                          $                        209.93
                 j.   Wells Fargo Auto Finance                     2006 Toyota Sequoia                    $                        773.89
                                                                                                                          Total: Add Lines     $          7,690.14
              Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence,
              a motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43        your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the payments
              listed in Line 42, in order to maintain possession of the property. The cure amount would include any sums in default
              that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in the following chart.
              If necessary, list additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt                  1/60th of the Cure Amount
                 a.   -NONE-                                                                              $
                                                                                                                          Total: Add Lines     $                0.00
    44
              Payments on priority claims. Enter the total amount of all priority claims (including priority child support and
              alimony claims), divided by 60.                                                                                                  $                0.00
              Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
              following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

               a.        Projected average monthly Chapter 13 plan payment.                           $                         1,500.00
    45         b.        Current multiplier for your district as determined under schedules
                         issued by the Executive Office for United States Trustees. (This
                         information is available at www.usdoj.gov/ust/ or from the clerk of
                         the bankruptcy court.)                                                       x                               10.00
               c.        Average monthly administrative expense of Chapter 13 case                    Total: Multiply Lines a and b            $            150.00
    46        Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                       $          7,840.14
                                               Subpart D: Total Deductions Allowed under § 707(b)(2)
    47        Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                      $        16,786.50


                                              Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48        Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                           $        16,387.86
    49        Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                $        16,786.50
    50        Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                                 $           -398.64
    51
              60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
              enter the result.                                                                                                                $       -23,918.40




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Official Form 22A (Chapter 7) (04/07) - Cont.                                                                                                                              6



              Initial presumption determination. Check the applicable box and proceed as directed.

                  The amount on Line 51 is less than $6,575. Check the box for "The presumption does not arise" at the top of page 1 of this
              statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
    52
                  The amount set forth on Line 51 is more than $10,950 Check the box for "The presumption arises" at the top of page 1 of
              this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.

                    The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53
              through 55).

    53        Enter the amount of your total non-priority unsecured debt                                                                             $
    54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                 $
              Secondary presumption determination. Check the applicable box and proceed as directed.

                    The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the
              top of page 1 of this statement, and complete the verification in Part VIII.
    55
                  The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption
              arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.




                                                             Part VII. ADDITIONAL EXPENSE CLAIMS
              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
              of you and your family and that you contend should be an additional deduction from your current monthly income under § 707(b)(2)(A)(ii)(I).
              If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for each item. Total the
              expenses.

    56                 Expense Description                                                                                          Monthly Amount
               a.      Travel expenses for children's visits                                                       $                         200.00
               b.                                                                                                  $
               c.                                                                                                  $
               d.                                                                                                  $
                                                                            Total: Add Lines a, b, c, and d        $                         200.00

                                                                           Part VIII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
                             Date:    November 15, 2007                                    Signature: /s/ Anastasia Karamanides
                                                                                                                       Anastasia Karamanides
    57                                                                                                                          (Debtor)

                                 Date:       November 15, 2007                                         Signature       /s/ Lester Charley
                                                                                                                        Lester Charley
                                                                                                                                (Joint Debtor, if any)




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